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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                                  CLERK’S MINUTES
                                  Sentencing Hearing

                          Case Number: 6:21-cr-17-PGB-EJK


UNITED STATES OF AMERICA                        Government’s
                                                Counsel:  John Gardella
                    Plaintiff,                            Amanda Daniels

v.

Jacquavius Dennard Smith                        Defense
                                                Counsel:     Daniel Eckhart
                    Defendant.

Judge:              Paul G. Byron           Court           Koretta Stanford
                                            Reporter:       stanarm2014@gmail.com

Deputy Clerk:       Grace Farey             Interpreter:    N/A
Date:               December 15, 2021       Time:           2:30 PM – 4:50 PM
                                                            TOTAL: 2 hours, 20 minutes

Defendant is adjudged guilty to Counts One, Two, and Three of the Superseding
Information.

IMPRISONMENT: 87 months. This term consists of a 45 month term as to Counts 1 and
3, to run concurrently. Further, pursuant to 18 U.S.C. § 3147(1), the Court imposes an 18
month term of imprisonment, to run consecutively to the 45 months imposed in Counts 1
and 3. Further, a 24 month term of imprisonment as to Count 2 is also ordered. Count 2
is to run consecutively to Counts 1, 3, and the sentence imposed in 18 U.S.C. §3147(1).

The Court makes the following recommendations to the Bureau of Prisons:
   1. Participation in the Residential Drug Abuse Program (RDAP)
   2. Confinement as close to the central Florida area as possible

The underlying Indictment and Superseding Indictment are DISMISSED.

SUPERVISED RELEASE: 3 years. This term consists of a 3 year term as to Counts 1
and 3 and a 1 year term as to Count 2, all such terms to run concurrently.

The mandatory drug testing requirements are imposed.
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SPECIAL CONDITIONS OF SUPERVISED RELEASE
  • Drug Aftercare
  • Financial
  • Submit to Search
  • Collection of DNA

FORFEITURE: Defendant shall forfeit to the United States those assets previously
identified in the Plea Agreement and Order of Forfeiture, that are subject to forfeiture.

RESTITUTION: $10,416.00
Payees: Small Business Administration

FINE: Waived

SPECIAL ASSESSMENT: $300.00

Plea Agreement is accepted.

The defendant is remanded to the custody of the United States Marshal.

Defendant advised of right to appeal.

Witnesses:
Agent Chad Goodling (sworn)




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